   Case 1:25-md-03143-SHS-OTW              Document 204        Filed 06/16/25     Page 1 of 4




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 IN RE:

 OPENAI, INC.

 COPYRIGHT INFRINGEMENT                               Case No. 1:25-md-3143-SHS-OTW
 LITIGATION

 This Document Relates To:

 News Cases

DEFENDANT MICROSOFT CORPORATION’S RESPONSE TO NEWS PLAINTIFFS’
             MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Paragraph 21 of the Stipulated Protective Order in the News Cases (Daily News

ECF 129), Defendant Microsoft Corporation (“Microsoft”) submits this response in support of

News Plaintiffs’ Motion to Seal Portions of Their June 10, 2025 Discovery Motions (ECF 132)

(“Motion”) requesting that the redacted portions in the second full paragraph on page 2 of News

Plaintiffs’ letter motion regarding production of metric-tracking dashboards (“Letter Motion”)

(ECF 157), Exhibits B and C (ECF 157-2 and 157-3), and the redacted portions of Exhibit E (ECF

157-5) thereto be sealed.

       Although “[t]he common law right of public access to judicial documents is firmly rooted

in our nation’s history,” this right is not absolute and courts “must balance competing

considerations against” the presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d

110, 119–20 (2d Cir. 2006). “The proponent of sealing ‘must demonstrat[e] that closure is essential

to preserve higher values and is narrowly tailored to serve that interest.’” Bernstein v. Bernstein

Litowitz Berger & Grossman LLP, 814 F.3d 132, 144 (2d Cir. 2016) (quoting In re N.Y. Times Co.,

828 F.2d 110, 116 (2d Cir. 1987)). “[T]he presumption of public access in filings submitted in

connection with discovery disputes . . . is generally somewhat lower than the presumption applied
   Case 1:25-md-03143-SHS-OTW                Document 204        Filed 06/16/25       Page 2 of 4




to material introduced at trial, or in connection with dispositive motions . . . .” Brown v. Maxwell,

929 F.3d 41, 50 (2d Cir. 2019). “[W]hile a court must still articulate specific and substantial reasons

for sealing such material, the reasons usually need not be as compelling as those required to seal

summary judgment filings.” Id.

       The Letter Motion and Exhibit E thereto both contains descriptions of Exhibits B and C to

the Letter Motion, which are highly confidential document, the disclosure of which would unfairly

prejudice Microsoft. Exhibits B and C to the Letter Motion, which have been designated “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the Protective Order, contain

highly confidential information about the ongoing work of Microsoft. See Ex. A (Declaration of

Lucky Vidmar). They are also documents that have been exchanged during the course of discovery

and are designated under the Protective Order. New York Times, ECF 378. Microsoft requests that

the redacted portions in the second full paragraph on page 2 of the Letter Motion and the redactions

to Exhibit E thereto are sealed from the public and Exhibits B and C be sealed in their entirety.

       The information Microsoft seeks to seal and redact is the type of information commonly

found to warrant sealing. See id. (granting motion to seal similar information and documents in

this case); see also Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511

(S.D.N.Y. 2015) (citation omitted) (concluding that proposed redactions were “generally limited

to specific business information and strategies, which, if revealed, ‘may provide valuable insights

into a company’s current business practices that a competitor would seek to exploit.’”).

       For the reasons stated above, and those set forth in the Declaration of Lucky Vidmar,

Microsoft supports News Plaintiffs’ Motion to Seal Portions of Their June 10, 2025 Discovery

Motions (ECF 132). Specifically, Microsoft requests that the redacted portions in the second full
   Case 1:25-md-03143-SHS-OTW             Document 204       Filed 06/16/25     Page 3 of 4




paragraph on page 2 of News Plaintiffs’ Letter Motion (ECF 157), Exhibits B and C (ECF 157-2

and 157-3), and the redacted portions of Exhibit E (ECF 157-5) be sealed.

Dated: June 16, 2025                        Respectfully submitted,

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Case 1:25-md-03143-SHS-OTW   Document 204     Filed 06/16/25     Page 4 of 4




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